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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                   Filed: June 27, 2014

* * * * * * * * * * * * * *
MELISSA DAVIS and CECIL DAVIS, SR., *               UNPUBLISHED
as the Parents and Natural Guardians of     *       No. 09-684V
C.D., an Infant,                            *
                                            *
                Petitioners,                *
                                            *       Special Master Dorsey
v.                                          *
                                            *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                         *       Reasonable Amount Requested to which
AND HUMAN SERVICES,                         *       Respondent Does not Object.
                                            *
                Respondent.                 *
                                            *
* * * * * * * * * * * * *
Mark T. Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for petitioners.
Justine E. Daigneault, United States Department of Justice, Washington, DC, for respondent.

                      ATTORNEYS’ FEES AND COSTS DECISION 1

       On October 9, 2009, Melissa Davis and Cecil Davis, Sr. (“petitioners”), as the parents
and natural guardians of C.D., an infant, filed a petition pursuant to the National Vaccine Injury
Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioners alleged that numerous
vaccinations, including Pediarix, 3 Prevnar, 4 and PedvaxHIB, 5 that C.D. received on October 18,

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
  Pediatrix consists of diphtheria-tetanus-acellular-pertussis (“DTaP”), hepatitis B, and
inactivated polio virus (“IPV”) vaccines. See Centers for Disease Control & Prevention,
                                                1
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2006, caused her to suffer and continue to suffer from “vaccine induced encephalopathy with
seizures and loss of muscle control, which were either ‘caused-in-fact’ by the above-stated
vaccinations, or, in the alternative, significantly aggravated by the above-stated vaccinations.”
Petition at 1. On March 7, 2014, the undersigned entered a decision dismissing the case for
failure to make a prima facie case.

        On June 27, 2014, the parties filed a Stipulation of Facts Concerning Attorneys’ Fees and
Costs. According to the stipulation, the parties stipulate to an award to petitioners of attorneys’
fees and costs in the amount of $22,650.64. In accordance with General Order #9, petitioners’
counsel represents that petitioners did not personally incur any reimbursable costs in pursuit of
their claim.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       in the form of a check jointly payable to petitioner and to Mark T. Sadaka, Esq., of the
       Law Offices of Sadaka Associates, LLC, in the amount of $22,650.64.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 6

        IT IS SO ORDERED.

                                               s/Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master


Pediarix Vaccine: Questions and Answers, http://www.cdc.gov/vaccines/vpd-vac/combo-
vaccines/pediarix/faqs-hcp-pediarix.htm.
4
 Prevnar 13 is a pneumococcal conjugate vaccine, also known as PCV 13. See Centers for
Disease Control & Prevention, Pneumococcal Vaccination, available at
http://www.cdc.gov/VACCINES/vpd-vac/pneumo/default.htm.
5
  PedvaxHIB is a Haemophilus influenzae type b vaccine which prevents meningitis (an
infection of the covering of the brain and spinal cord), pneumonia (lung infection), epiglottitis (a
severe throat infection), and other serious infections caused by a type of bacteria called
Haemophilus influenza type b. See Centers for Disease Control & Prevention, Hib Vaccination,
available at http://www.cdc.gov/Vaccines/vpd-vac/hib/default.htm.
6
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                 2
